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                            IN THE UNITED STATES DISTRICT COURT FOR THE
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                                    EASTERN DISTRICT OF CALIFORNIA
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 9
10         UNITED STATES OF AMERICA,                          Case No. 1:08-cr-00124-AWI

11                             Plaintiff,                     ORDER CLARIFYING SENTENCE
                       v.
12
13         ABEL REMIGIO-ONOFRE,

14                     Defendants.
     __________________________________/
15
16            The United States has requested clarification from this Court regarding the application of

17 credit for time served in the above-entitled action. The United States represents that the Federal
18 Bureau of Prisons followed the procedure set forth in Program Statement 5880.28, by sending a
19 letter to the United States identifying what it believes to be a computation error in credit for time
20 served. The Court has considered the Bureau of Prisons concerns and makes clear now that the
21 initial calculation is correct.
22            Defendant was charged in this action with offenses involving the distribution of

23 controlled substances. See Doc. 148. He was also charged in a separate action with being a
24 deported alien found in the United States.
25            Defendant Remigio-Onofre was taken into federal custody on March 7, 2008.1 Doc. 471

26 at 23. On October 14, 2008, Defendant was sentenced in case number 1:08-cr-00071 to a 27-
27 month term of imprisonment for being a deported alien found in the United States. United States
28 1
       The United States indicates that the Defendant was in custody beginning on March 4, 2008.

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 1 v. Remigio-Onofre, Case No. 1:08-cr-00071, Doc. 21 (E.D. Cal. Oct. 14, 2015). On March 10,
 2 2010, the defendant satisfied the 27-month sentence imposed.
 3           On February 19, 2010, Defendant pled guilty to attempted distribution of
 4 methamphetamine, in violation of 21 U.S.C. §§ 841(a)(1) and 846. He was sentenced on May 3,
 5 2010 to 151 months to run concurrent with the sentenced imposed in case number 1:08-cr-00071.
 6 Unbeknownst to the sentencing court, that term of imprisonment had already run. The sentencing
 7 court made the additional order that Defendant was to receive credit for time served since his
 8 entry into federal custody on March 7, 2008 through the date of his sentencing, May 3, 2010.
 9 Doc. 471 at 23.
10           The United States suggests that Defendant should not receive credit for the time served
11 between March 10, 2010 and May 2, 2010—the time after termination of illegal reentry sentence
12 and before the imposition of the drug sentence. That suggestion is incorrect. 18 U.S.C. §
13 3585(b), governing calculation of credit for prior custody, allows the court to grant custody
14 credit for any time spent in official detention prior to the date that a sentence commences as a
15 result of the offense for which the sentence was imposed.2 Defendant was taken into federal
16 custody, in part due to the drug charges, on March 7, 2008. He was not released from custody
17 between March 10, 2010 and May 2, 2010. He was officially detained by order of this Court in
18 that period. See Doc. 87. Defendant was and is eligible for custody credit for that period of
19 incarceration.
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21 IT IS SO ORDERED.
22 Dated: August 3, 2016
                                                        SENIOR DISTRICT JUDGE
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27    Section 3585 generally restricts custody credit to custody time not credited against other sentences. However,
     because the drug sentence in this matter was imposed concurrently with the unlawful reentry sentence, section 3585
28   does not operate to preclude custody credit for the drugs sentence during the period of time that Defendant served
     his unlawful reentry sentence.

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